  Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 1 of 14

Case 3:16-cr-00708-W Document 44 Filed 03/07/19                                          Pa elD.116 Page 1 of 1

                                        SA19CROI75                                                        DOCKET NUMBER            (7?a#    CctfftJ



                                                                                                          I   6CR00708.00 -W   I

TRANSFER OF JURISDIcTiON
                                                                                                          DOCKET NUMBER            (Rec.   Covnj


                                                                                                                          FILE,
                                                                     DISTRICT                             OSVISJON
NAME AND ADDRESS OF


kse Hernandez
                                                                       Southern CalIfornia                      San Diego      MAR 0 8                ZO

                                                                                                                   CLERK, U.S(TR T COURT
123 Querida Ave.
                                                                     NAME OF SENTENCINO JUDGE
San Antonio Texas 18226
                                                                     Thomas 3. Whelan                             WESTERN     RICT OF TEXAS
                                                                     Senior U.S. District Judge                   BY
                                                                     DATES OF                             FROM                     TO

                                                                     supervised release                   Il/illS                  11/6/     I


OFFENSE
                                                                                                                     FILED
21 U.S.C. §     952 and 960 Importation of Methamphetamine, a Class C felony.
                                                                                                                     Mar 07 2019
                                                                                                                CLERK, U.S. DtSTRICT COURT
                                                                                                                                   T0r     clr
PART     1- ORDER TRANSFERRING JURISDICTION
UNiTED STATES DISTRICT COURT POR THE SOUTHERN DISTRICT OF CALIFORNIA
IT IS HEREBY ORDERED that pursuant r.o 18 U.S.C. § 3605 the jurisdiction of the Supervised Releasee
                                                                                                              named above

be transfened with the records of the Court to the United States District Court for
                                                                                     the  Western   District of Texas upon
that Court's orderof acceptance ofjurisdiction. This Court hereby expressly consents  that the period of supervised release
may be changed by the District Court to which this transfer is made without  further inquiry  of this court.'




      Date                                                              Thornasi.W           ii


                                                                        Senior U.S. District Judge

 *Thts santon    may be deleted at the discretion of the transterring coun.

 PART 2. ORDER ACCEPTING JURISDICTION
 UNITED STATES DISTRICT COURT FOR THE                               TJN PISIBJIQETAI
                                                                 above-named be accepted and assumed by                this   Court From and
 iT IS HEREBY ORDERED that jurisdiction over the
 aier the entry of this order.




         EttecUve Date                                                  United
                                                                                             4w7
                                                                                 rates Dl*trict   Judqe
                                                                                                                  /.

                                                                                                                                                           '4
              Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 2 of 14

            Case 3:16-cr-00708-W Document 43 liIed 02/13/17                                PageID.112 Page 1 of 4

AO 245B (CASDRev. 08113) Judgment in a Criminal Case



                                    UNITED STATES DISTRICT COU1T
                                                                                                                FEB 1
                                        SOUTHERN DISTRICT OF CALIFORNIA                           /                        2017
                                                                                                 /    OL.R
             UNITED STATES OF AMERICA                               JUDGMENT INA
                               v.
                                                                    (For Offenses
                   JOSE HERNANDEZ (I)
                                                                       Case Number:          16CR0708-W

                                                                    Kurt Hermansen
                                                                    Defendant's Attorney

REISTRAT1ON NO.                 55598298

 0-
THE DEFENDANT:
   pleaded guilty to Count(s)         One of the Information

 0   was found guilty on count(s)
     after a plea of not guilty.
 Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
 Title & Section                    Nature of Offense                                                                    Number(s)
 21 USC 952,     960                iMPORTATiON OF METHAMPHETAMINE




     The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

 0    The defendant has been found not guilty on count(s)

 0    Count(s)                                                 is          dismissed on the motion of the United States

      Assessment: S 100.00



       No fine                0     Forfeiture pursuant to order filed                                            ,   included herein.
        IT IS ORDERED that the defendant shall noti' the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.

                                                                       ebruarv 13.2
                                                                     Date of Imposition of Set$ence



                                                                      HON. THOMA                VHELAN
                                                                      UNITED STAtES DISTRICT JUDGE



                                                                                                                           1   6CR0708-W
               Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 3 of 14

              Case 3:16-cr-00708-W Document 43 Filed 02/13/17 PagelD.113                      Page 2 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT                   JOSE HERNANDEZ (I)                                                    Judgment -Page 2 of 4
CASE NUMBER:                16CR0708-W

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
 FORTY-SIX (46) MONTHS




 o       Sentence imposed pursuant to Title 8 usc Section 1326(b).
         The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the residential drug and alcohol treatment program (RDAP)
         That the defendant serve his custodial term at FCI 3 Rivers in South Central Region




 0       The defendant is remanded to the custody of the United States Marshal.

  0      The defendant shall surrender to the United States Marshal for this district:
          Oat________                           A.M.            on
          O    as notified by the United States Marshal

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:
          0    on or before March 31, 2017, noon.
          0    as notified by the United States Marshal.
          0    as notified by the Probation or Pretrial Services Office.

                                                          fti*iifliI
  I   have executed this judgment as follows:

          Defendant delivered on                                           to

  at                                        ,   with a certified copy of this judgment.


                                                                     UNITED STATES MARSHAL



                                       By                     DEPUTY UNITED STATES MARSHAL



                                                                                                           I 6CR0708-W
                     Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 4 of 14

                   Case 3:16-cr-00708-W Document 43                            Piled 02/13/17 PagelD.114                    Page 3 of 4

    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT                      JOSE HERNANDEZ (I)                                                                            Judgment Page 3 of 4
    CASENUMBER:                    16CR0708-W

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a                        term of
THREE:(3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or qfier September           13, 1994:

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court Testing requirements will not exceed submission of more than 8 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse. (Check, i/applicable.)
J          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysts
           Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U SC § 16901 et
O          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifying offense. (Check f applicable.)
O          The defendant shall participate in an approved program for domestic violence (Check if applicable)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payment.s set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
      1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer
     3)      the defendant ,hall answer truthfully all inquiries by the probation officer and follow the mstructions of the probation officer,
     4)      the defendant shall support his or her dependents and meet other family responsibilities
     5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
             reasons:
      6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)     the defendant shall refrain from excessive use of alcohol and shall not purt.hase possess use distribute or administer any controlled substance or
             any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)     thi. defendant shall not frequent places where controlled substances are illegally sold used distributed or administered
      9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony.
             unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
             observed in plain view of the probation officer;
      II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
             the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
              personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
             with such notification requirement.



                                                                                                                                           I 6CR0708-W
              Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 5 of 14

            Case 3:16-cr-00708-W Document 43 Filed 02/13/17                 PagelD.115 Page 4 of 4
AO 245B (CASD Rev,     08/13) Judgment   in   a Criminal Case


DEFENDANT               JOSE HERNANDFZ(1)                                                       Judgment    Page 4 of 4
CASE NUMBER             16CR0708.W

                                   SPECIAL CONDITIONS OF SUPERVISION

     l. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.


     2. Participate in a program   of mental health treatment as directed by the probation officer, take all
         medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
         permission The court authorizes the release of the presentence report and available psychological
         evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
         release of information between the probation officer and the treatment provider May be required to
         contribute to the costs of services rendered in an amountto be determined.

     3   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


     4   Submit person, property, place of residence, vehicle, or personal effects to a search, conducted by a United
         States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
         of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
         grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.


     5   Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
         directed by the probation officer. Allow for reciprocal release of information between the probation
         officer and the treatment provider. May be required to contribute to the costs of services rendered in an
         amount to be determined by the probation officer, based on ability to pay




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         Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 6 of 14

         Case 3:16-cr-00708-W Document 13 Filed 04/07/16 PagelD.15 Page              1 of 1     2M



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    7                                   TJNITED STATES DISTRICT COURT

    8                                  SOUTHERN DISTRICT OF CALIFORNIA

    9   UNITED STATES OF AMERICA,                                Case No.:    16CR0708-W
10                                      Plaintiff,               I   N F 0 R M A T I 0 N

11           v.                                                  Title 21, U.S.C., Secs. 952
                                                                 and 960 - Importation of
12 JOSE HERNANDEZ,                                               Methamphetarnine (Felony)

13                                      Defendant.

14
15
16      The United States Attorney charges:

17           On       or   about       March    10,   2016,    within   the   Southern   District of

18      California, defendant JOSE HERNANDEZ, did knowingly and intentionally

19      import    a    mixture         and     substance   containing    a    detectable   amount   of

20      Methamphetamine,           a    Schedule II Controlled Substance, into the United

21      States from a place outside thereof; in violation of Title 21, United

22      States Code, Sections 952 and 960.

23            DATED:

24                                                            LAURA E. DUFFY
                                                              United States Attorney
2

2
                                                              STEVEN LEE
27                                                            Special Assistant U.S. Attorney



        ISLE:dca: 3/21/2016
         Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 7 of 14
CMIECF - casd                                                                             Page   1   of 8


                                                                CLOSED,PROBATION TRANSFER

                                       U.S. District Court
                      Southern District of California (San Diego)
                 CRIMINAL DOCKET FOR CASE #: 3:16-cr-00708-W-1


Case title: USA v. Hernandez                                Date Filed: 04/07/20 16
Magistrate judge case number: 3:1 6-mj -00729-DHB           Date Terminated: 02/13/2017


Assigned to: Judge Thomas J. Whelan

Defendant (1)
Jose Hernandez                                represented by Federal Defenders
TERMINA TED: 02/13/2017                                      Federal Defenders of San Diego
                                                             225 Broadway
                                                             Suite 900
                                                             San Diego, CA 92101-5008
                                                             (619)234-8467
                                                             Fax: (619)687-2666
                                                             Email: cassd_ecffd.org
                                                             TERMINA TED: 03/14/2016
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Public Defender or
                                                             Community Defender Appointment

                                                             Hootan Baigmohammadi
                                                             Federal Defenders of San Diego
                                                            225 Broadway
                                                            Suite 900
                                                            San Diego, CA 92101
                                                            619-234-8467
                                                            Fax: 619-234-8467
                                                            Email:
                                                            hootan_baigmohammadi@fd.org
                                                            TERMINA TED: 12/13/2016
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                             Designation: Public Defender or
                                                             Community Defender Appointment

                                                             Kurt David Hermansen
                                                             Law Offices of Kurt D Hermansen
                                                             550 West C Street
                                                             Suite 580
                                                             San Diego, CA 92101



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         Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 8 of 14
CMIECF - casd                                                                             Page 2 of 8



                                                            (619) 436-8117
                                                            Fax: (619) 315-0436
                                                            Email:
                                                            KDH@KurtDavidHermansen.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation. CJA Appointment

Pending Counts                                              Disposition
21:952, 960 - Importation of                                Custody of BOP 46 months. Supervised
Methamphetamine (Felony)                                    release for 3 years. $100 Assessment.
(1)                                                         Fine waived

Highest Offense Level (Opening)
Felony

Terminated Counts                                           Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                  Disposition
21:952, 960 - Importation of Controlled
Substances (Felony)



Plaintiff
USA                                          represented by Karla Davis
                                                            U S Attorney's Office
                                                            Southern District of California
                                                            880 Front Street, Room 6293
                                                            San Diego, CA 92101
                                                            619-546-6741
                                                            Fax: 619-546-0510
                                                            Email: karla.davis@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Assistant United States
                                                            Attorney

                                                             Lindsey Anne Forrester Archer
                                                             U S Attorneys Office Southern District
                                                             of California


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          Case 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 9 of 14
CM/ECF - casd                                                                              Page 3 of 8



                                                             880 Front St.
                                                             San Diego, CA 92101
                                                             619-546-8419
                                                             Email: lindsey.archerusdoj .gov
                                                             TERM1NA TED: 11/11/2016
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant United States
                                                             Attorney

                                                             Steven Lee
                                                             United States Attorney's Office
                                                             Southern District of California
                                                             880 Front Street
                                                             San Diego, CA 92101
                                                             (619) 546-8893
                                                             Fax: (619) 546-0510
                                                             Email: steven.lee@usdoj.gov
                                                             TERMINA TED: 06/29/2016
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant United States
                                                             Attorney


 Date Filed       #    Docket Text
 03/10/2016            Arrest of Jose Hernandez (no document attached) (lao) [3:16-mj-00729-DHB]
                       (Entered: 03/11/2016)

 03/11/2016       1    COMPLAINT as to Jose Hernandez.(Attachments: # 1 Info sheet)(lao)(jrd)
                       [3:1 6-mj-00729-DHB] (Entered: 03/11/2016)

 03/11/20 16      2    Set/Reset Duty Hearings as to Jose Hernandez: Initial Appearance set for
                       3/11/20 16 before Magistrate Judge David H. Bartick. (no document attached)
                       (lao) [3:16-mj-00729-DHBJ (Entered: 03/11/2016)

 03/11/20 16      3    Minute Entry for proceedings held before Magistrate Judge David H. Bartick:
                       Initial Appearance as to Jose Hernandez held on 3/1 1/20 16. Appointed
                       Attorney Federal Defenders for Jose Hernandez. Govt oral motion to detain
                       (flight). Detention Hearing - RF set for 3/17/2016 02:00 PM before Magistrate
                       Judge David H. Bartick. Preliminary Hearing set for 03/24/20 16 at 01:30 PM
                       before Magistrate Judge David H. Bartick.Arraignment set for 04/07/20 16 at
                       02:00 PM before Magistrate Judge David H. Bartick.(CD#3/1 1/2016 3:01-
                       3:08). (Plaintiff Attorney Benjamin Bish, AUSA). (Defendant Attorney Becky
                       Fish, FD). (no document attached) (tkl) [3:1 6-mj-00729-DHB] (Entered:
                       03/11/2016)

  03/11/20 16      4   ***English. No Interpreter needed as to Jose Hernandez (no document
                       attached) (tkl) [3:1 6-mj -00729-DHB] (Entered: 03/11/2016)




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CM/ECF - Case
         casd 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 10 of 14                     Page 4 of 8



 03/11/2016       5    Oral MOTION to Detain by USA as to Jose Hemandez. (no document attached)
                       (tkl) [3:16-mj-00729-DHB] (Entered: 03/11/2016)

 03/11/2016            CiA 23 Financial Affidavit by Jose Hernandez (lao) [3:16-mj-00729-DHB]
                       (Entered: 03/14/2016)

 03/14/20 16      7    NOTICE OF ATTORNEY APPEARANCE: Hootan Baigmohammadi
                       appearing for Jose Hernandez (Baigmohammadi, Hootan)Attorney Hootan
                       Baigmohammadi added to party Jose Hernandez(pty:dft) (ace). [3:16-mj-
                       00729-DHB] (Entered: 03/14/2016)
 03/14/20 16       8   Notice of Assertion of Rights by Jose Hernandez (Baigmohammadi, Hootan)
                       (ace). [3:1 6-mj -00729-DHB] (Entered: 03/14/2016)

 03/15/2016        9   NOTICE OF ATTORNEY APPEARANCE Steven Lee appearing for USA.
                       (Lee, Steven)Attorney Steven Lee added to party USA(pty:pla) (srm). [3:1 6-mj-
                       00729-DHB] (Entered: 03/15/2016)
 03/17/2016       10   Minute Entry for proceedings held before Magistrate Judge David H. Bartick:
                       Detention Hearing as to Jose Hernandez held on 3/17/20 l6denying 5
                       Government Motion to Detain as to Jose Hernandez (1). The Court orders bond
                       set as to Jose Hernandez (1) $30,000 PS secured by Trust Deed with Nebbia
                       Hearing/Surety Exam prior to release. Defendant waives time and requests to
                       continue the preliminary hearing set for 3/24/16 to 4/7/16. Granted. (CD#
                       3/17/2016 DHB 16-1:2:45-2:57). (Plaintiff Attorney Adriana Ahumada AUSA).
                       (Defendant Attorney Hootan Baigmohammadi FD). (no document attached)
                       (aje) [3:1 6-mj-00729-DHB} (Entered: 03/18/2016)

 03/17/2016      II    ORDER Setting Conditions of Release. Bond set for Jose Hernandez (1)
                       $30,000 PS secured by Trust Deed with Nebbia Hearing/Surety Exam prior to
                       release. Signed by Magistrate Judge David H. Bartick on 3/17/16. (aje) [3:16-
                       mj -00729-DHB] (Entered: 03/21/2016)

 04/05/2016       12   NOTICE OF HEARiNG as to Defendant Jose Hemandez. Bond Hearing re
                       Modification set for 4/7/2016 02:00 PM before Magistrate Judge David H.
                       Bartick. (no document attached) (aje) [3:1 6-mj -00729-DHB] (Entered:
                       04/05/2016)
 04/07/2016            INFORMATION as to Jose Hernandez (1) count(s) 1. (aje)(jrd) (Entered:
                       04/08/2016)
 04/07/20 16      14   WAIVER OF INDICTMENT by Jose Hernandez (aje) (Entered: 04/08/2016)
 04/07/2016       15   Minute Entry for proceedings held before Magistrate Judge David H. Bartick:
                       Arraignment on Information as to Jose Hernandez (1) Count 1 held on
                       4/7/20 16. Not Guilty plea entered.Bond Hearing as to Jose Hernandez held on
                       4/7/20 16. The Court modifies the bond to $30,000 PS secured by 2 FRAs and a
                       10% cash deposit. (Motion Setting set for 4/18/20 16 09:00 AM before Judge
                       Thomas J. Whelan.) (CD# 4/7/2016 DHB 16-1:2:40-2:56). (Plaintiff Attorney
                       Alex Hernandez AUSA). (Defendant Attorney Hootan Baigmohammadi FD).
                       (no document attached) (aje) (Entered: 04/08/2016)




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CM/ECF - Case
         casd 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 11 of 14                   Page 5 of 8



 04/07/20 16.    16   MODIFIED ORDER Setting Conditions of Release. Bond set for Jose
                      Hernandez (1) $30,0000 PS secured by 2 FRAs and 10% cash deposit. Signed
                      by Magistrate Judge David H. Bartick on 4/7/16. (aje) (Entered: 04/11/2016)
 04/18/2016      17   Minute Entry for proceedings held before Judge Thomas J. Whelan: Motion
                      Setting as to Jose Hernandez held on 4/18/2016, ( Status Hearing set for
                      5/2/2016 09:00 AM in Courtroom 3C before Judge Thomas J. Whelan.) (Court
                      Reporter/ECR James Pence). (Plaintiff Attorney AUSA Nicholas Pilchak).
                      (Defendant Attorney Hootan Baigmohanmiadi FD). (no document attached)
                      (ksr) (Entered: 04/18/2016)
 04/28/20 16     18   MOTION to Compel Discovery MOTION for Leave to File Further Motions
                                                      ,


                      by Jose Hernandez. (Attachments: # I Memo of Points and Authorities)
                      (Baigmohammadi, Hootan) (dig). (Entered: 04/28/2016)
 05/02/20 16     19   Minute Entry for proceedings held before Judge Thomas J. Whelan: Status
                      Hearing as to Jose Hernandez held on 5/2/20 16. Defense oral motion to
                      continue-Granted. (Status Hearing set for 5/3 1/20 16 09:00 AM in Courtroom
                      3C before Judge Thomas J. Whelan.) (Court Reporter Juliet Eichenlaub).
                      (AUSA Jennifer Gmitro S/A for Steven Lee). (Defense Attorney FD Ryan
                      Fraser S/A for Hootan Baigmohammadi). (no document attached) (bjb)
                      (Entered: 05/03/2016)

 05/24/20 16     20   NOTICE OF CHANGE OF HEARING as to Defendant Jose Hernandez.
                      Change of Plea Hearing set for 5/31/2016 09:00 AM in Courtroom 3C before
                      Judge Thomas J. Whelan. (Change in type of hearing only)(no dOcument
                      attached) (bjb) (Entered: 05/24/20 16)
 05/31/2016      21   Minute Entry for proceedings held before Judge Thomas J. Whelan: Change of
                      Plea Continued as to Jose Hernandez. Defense oral motion to continue hearing
                      granted. Change of Plea Hearing continued to 6/13/2016 09:00 AM in
                      Courtroom 3C before Judge Thomas J. Whelan. (Court Reporter Frank
                      Rangus). (AUSA John Parmley S/A for Steven Lee N/A). (Defense Attorney
                      FD Hootan Baigmohammadi). (no document attached) (bjb) (Entered:
                      06/01/2016)
 06/13/20 16     22   Minute Entry for proceedings held before Judge Thomas J. Whelan: Change of
                      Plea Continued as to Jose Hernandez. Defense oral motion to continue hearing
                      granted. Change of Plea Hearing continued to 6/27/20 16 09:00 AM in
                      Courtroom 3C before Judge Thomas J. Whelan. (Court Reporter Frank
                      Rangus). (AUSA Alexandra Foster S/A for Steven Lee). (Defense Attorney FD
                      Amy Kimpel S/A for Hootan Baigmohammadi). (no document attached) (bjb)
                      (Entered: 06/13/2016)
 06/27/20 16     23   Minute Entry for proceedings held before Judge Thomas J. Whelan: Change of
                      Plea Hearing as to Jose Hernandez held on 6/27/20 16. Plea entered by Jose
                      Hernandez (1) Guilty Count 1. PSR Ordered. (Sentence With PSR set for
                      10/3/2016 09:00 AM in Courtroom 3C before Judge Thomas J. Whelan.)
                      Pending motions are deemed moot. (Court Reporter James Pence). (AUSA
                      Janet Cabral S/A for Steven Lee). (Defense Attorney Hootan Baigmohammadi).
                      (no document attached) (bjb) (Entered: 06/28/20 16)



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CM/ECF - Case
         casd 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 12 of 14                   Page 6 of 8



 06/27/2016      24   PLEA AGREEMENT as to Jose Hernandez (bjb) (Entered: 06/28/2016)

 06/29/20 16     25   NOTICE OF ATTORNEY APPEARANCE Lindsey Anne Forrester Archer
                      appearing for USA. (Forrester Archer, Lindsey)Attorney Lindsey Anne
                      Forrester Archer added to party USA(pty:pla) (jao). (Entered: 06/29/20 16)
 08/29/20 16          PRE-SENTENCE REPORT as to Jose Hernandez. Report prepared by: Jorge
                      Hernandez Bravo. (Document applicable to USA, Jose Hernandez.) (Luna, G.)
                      (Entered: 08/29/2016)

 09/21/2016      27   Joint MOTION to Continue Sentencing Hearing by Jose Hernandez.
                      (Baigmohammadi, Hootan) (j ao). (Entered: 09/21/2016)
 09/23/20 16     28   ORDER Granting 27 Joint Motion to Continue as to Jose Hernandez (1).
                      Sentence With PSR reset for 11/28/2016 09:00 AM before Judge Thomas J.
                      Whelan. Signed by Judge Thomas J. Whelan on 8/23/2016.(jao) (Entered:
                      09/23/2016)
 11/11/2016      29   NOTICE OF ATTORNEY APPEARANCE Karla Davis appearing for USA.
                      (Davis, Karla)Attorney Karla Davis added to party USA(pty:pla) (jao).
                      (Entered: 11/11/2016)

 11/22/2016      30   Joint MOTION to Continue Sentencing Hearing by Jose Hernandez.
                      (Baigmohammadi, Hootan) (jao). (Entered: 11/22/20 16)
 11/22/20 16     31   ORDER Granting 30 Joint Motion to Continue as to Jose Hernandez (1).
                      Sentence With PSR reset for 12/19/2016 09:00 AM before Judge Thomas J.
                      Whelan. Signed by Judge Thomas J. Whelan on 1 1/22/20 16.(jao) (Entered:
                      11/22/2016)

 12/12/2016      32   NOTICE OF HEARING as to Defendant Jose Hernandez. At the request of
                      defense counsel, Attorney Appointment Hearing set for 12/13/20 16 09:30 AM
                      before Magistrate Judge Karen S. Crawford. (no document attached) (aje)
                      (Entered: 12/12/2016)

 12/12/20 16     33   SENTENCING SUMMARY CHART by USA as to Jose Hernandez (Davis,
                      Karla) (jào). (Entered: 12/12/2016)
 12/13/20 16     34   Minute Entry for proceedings held before Magistrate Judge Karen S. Crawford:
                      Attorney Appointment Hearing as to Jose Hernandez held on 12/13/2016
                      Attorney Kurt David Hermansen (n/a) appointded for Jose Hernandez
                      appointed. Attorney Hootan Baigmohammadi relieved. (CD# 12/13/20 16 KSC
                      942-946). (Plaintiff Attorney Oleksandra Johnson, AUSA). (Defendant
                      Attorney Michelle Betancourt, FD). (no document attached) (ecs) (Entered:
                      12/13/2016)

 12/19/20 16     35   Minute Entry for proceedings held before Judge Thomas J. Whelan: Sentence
                      With PSR Hearing as to Jose Hernandez held on 12/19/20 16. (Sentence With
                      PSR set for 2/13/2017 09:00 AM in Courtroom 3C before Judge Thomas J.
                      Whelan.) (Court Reporter Frank Rangus). (AUSA Anne Perry S/A for Karla
                      Davis). (Defense Attorney Kurt Hermansen). (no document attached) (bjb)
                      (Entered: 12/20/2016)



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         casd 5:19-cr-00175-OLG Document 1 Filed 03/08/19 Page 13 of 14                            Page 7 of 8



  01/20/2017      36        OBJECTION TO PRESENTENCE INVESTIGATION REPORT by Jose
                            Hernandez (with Certificate of Service) (Hermansen, Kurt) (jao). (Entered:
                            01/20/2017)
  01/24/2017      37        SENTENCING MEMORANDUM (with Certflcate ofService) by Jose
                            Hernandez (Hermansen, Kurt) (jao). (Entered: 01/24/2017)
  02/02/20 17     38        SENTENCING SUMMARY CHART (with Certficate ofService) by Jose
                            Hernandez (Hennansen, Kurt) (jao). (Entered: 02/02/20 17)
  02/02/2017      39        Sentencing Document: Sentencing Letters (with Certificate of Service) by Jose
                            Hernandez (Attachments: # I Exhibit Al through A8)(Hermansen, Kurt) (jao).
                            (Entered: 02/02/2017)
  02/06/2017      4Q        ADDENDUM TO PRE-SENTENCE REPORT as to Jose Hernandez. Report
                            prepared by: Jorge Hernandez Bravo. (Document applicable to USA, Jose
                            Hernandez.) (Lara, R.) (fth). (Entered: 02/06/20 17)
 02/07/2017       41        SENTENCING SUMMARY CHART Amended by USA as to Jose Hemandez
                            (Davis, Karla) (fth). (Entered: 02/07/2017)
 02/13/20 17      42        Minute Entry for proceedings held before Judge Thomas J. Whelan: Sentence
                            With PSR Hearing held on 2/13/2017 for Jose Hernandez (1), Count(s) 1:
                            Custody of BOP 46 months. Supervised release for 3 years. $100 Assessment.
                            Fine waived. (Court Reporter Lee Ann Pence). (AUSA Karla Davis). (Defense
                            Attorney Kurt Hermansen). (no document attached) (bjb) (Entered: 02/13/2017)
 02/13/2017       43        JUDGMENT as to Jose Hemandez (1), Count(s) 1: Custody of BOP 46 months.
                            Supervised release for 3 years. $100 Assessment. Fine waived. Signed by Judge
                            Thomas J. Whelan. (bjb)(jrd) (Entered: 02/13/2017)
 03/07/2019       44        Probation Jurisdiction Transferred to Westrn District of Texas as to Jose
                            Hernandez. Signed by Judge Thomas J. Whelan on 2/12/20 19.(jao) (Entered:
                            03/07/2019)
 03/07/2019       45        NOTICE to Receiving District (Western District of Texas) of Criminal Case
                            Transfer, as to Jose Hemandez. The following documents are available on the
                            public docket: 14 Waiver of Indictment, 43 Judgment, 16 Order Setting
                            Conditions of Release (Pretrial Release Order), 1 Complaint, 13 Information -
                            Felony, 44 Transfer Out/Probationer, 11 Order Setting Conditions of Release
                            (Pretrial Release Order),. To request additional transfer information and/or to
                            submit acknowledgment re receipt of transfer, please email
                            InterdistrictTransfer_CASDcasd.uscourts.gov. (no document attached) (jao)
                            (Entered: 03/07/2019)



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